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                        EXHIBIT 6
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                               1   LAWYERS’ COMMITTEE FOR CIVIL
                                   RIGHTS OF THE SAN FRANCISCO BAY AREA
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                                   * admitted pro hac vice
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                                   Attorneys for Plaintiffs
                               8

                               9   Additional Counsel Below

                          10                                    UNITED STATES DISTRICT COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                          11                                         OAKLAND DIVISION
                          12       COALITION ON HOMELESSNESS; TORO                       CASE NO. 4:22-cv-05502-DMR
                          13       CASTAÑO, SARAH CRONK, JOSHUA
                                   DONOHOE, MOLIQUE FRANK, DAVID                         DECLARATION OF DARRAH
                          14       MARTINEZ, TERESA SANDOVAL,                            REASOR IN SUPPORT OF THE
                                   NATHANIEL VAUGHN                                      REPLY IN SUPPORT OF PLAINTIFFS’
                          15                                                             MOTION FOR PRELIMINARY
                                                          Plaintiffs.                    INJUNCTION
                          16                 v.
                                                                                         Judge:        The Hon. Donna M. Ryu
                          17       CITY AND COUNTY OF SAN FRANCISCO,
                          18
                                   SAN FRANCISCO POLICE DEPARTMENT,                      Hearing Date: December 22, 2022
                                   SAN FRANCISCO DEPARTMENT OF                           Time:         1:00 p.m.
                          19       PUBLIC WORKS, SAN FRANCISCO                           Place:        Courtroom 4 – 3rd Floor
                                   DEPARTMENT OF HOMELESSNESS AND                                      1301 Clay Street
                          20       SUPPORTIVE HOUSING, SAN FRANCISCO                                   Oakland, CA 94612
                                   FIRE DEPARTMENT, SAN FRANCISCO
                          21       DEPARTMENT OF EMERGENCY
                                   MANAGEMENT, LONDON BREED, in her
                          22
                                   official capacity as Mayor, SAM DODGE, in his
                          23       official capacity as Director of the Healthy
                                   Streets Operation Center (HSOC),
                          24
                                                         Defendants.
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LATHAM &WATKI NS cce                                                          REASOR DECL.
   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                              CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-6 Filed 12/01/22 Page 3 of 5



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LATHAM &WATKI NS cce                                                       REASOR DECL.
   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                           CASE NO. 4:22-CV-05502-DMR
                                    Case 4:22-cv-05502-DMR Document 50-6 Filed 12/01/22 Page 4 of 5



                               1                           DECLARATION OF DARRAH REASOR
                               2      I, Darrah Reasor, hereby declare pursuant to 28 U.S.C. § 1746:

                               3      1.        My name is Darrah Reasor, and I am 37 years old. All facts set forth in this
                                   declaration are based upon my personal knowledge, and, if called upon to testify as to the truth
                               4
                                   of these facts, I could and would competently do so.
                               5
                                   Recent Harassment by the City and Property Destruction While Homeless
                               6      2.        I have lost my belongings at the hands of the City numerous times. However, two
                               7   very recent sweeps stand out to me.
                               8      3.        In approximately mid-October, 2022, I suffered harassment and property

                               9   destruction at the hands of the City. At the time, I was staying with my partner JD Cobb on 14th
                                   Street and Stevenson Alley.
                          10
                                      4.        Notice was posted at the site, but the notice said the City would not be coming
                          11
                                   until Friday. However, they came around 6 AM on Wednesday, so we were not prepared. We
                          12       were present at the time of the sweep.
                          13          5.        The Department of Public Works (DPW), San Francisco Police Department
                          14       (SFPD), and the Homeless Outreach Team (HOT) were all present at the sweep. One of the

                          15       supervisors from the San Fransisco Fire Department (SFFD) was present as well. The police
                                   watched as we moved our belongings across the street, under the direction of DPW. They waited
                          16
                                   until we had moved everything and had sat down to eat. As soon as we did so, though, the police
                          17
                                   came over and said we had to move elsewhere, or they would arrest us and take all our property.
                          18
                                      6.        The HOT team told us that they could not provide JD with a shelter offer because
                          19       he was not qualified due to an error they made in his paperwork. Nonetheless, they forced him
                          20       to move under threat of arrest.
                          21          7.        DPW took the following belongings of ours that day: our bikes, JD’s welding
                                   materials, crates with soaps and toiletries, some of our clothes, a Bluetooth speaker, a whole
                          22
                                   bin of shoes, and other household items. They also took some very sentimental items of mine,
                          23
                                   like jewelry and photos of my children and my grandmother. These items were priceless and
                          24
                                   irreplaceable to me.
                          25          8.        We asked DPW if we could retrieve our belongings, but they told us everything
                          26       would be bagged and tagged at the yard. However, we did not believe them, because they were
                          27       throwing everything into the back of their truck in a haphazard manner, and they did not label

                          28       or log anything. Everyone’s belongings were mixed together and would be impossible to
                                                                                   1
LATHAM &WATKI NS cce                                                       REASOR DECL.
   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                           CASE NO. 4:22-CV-05502-DMR
                                    Case 4:22-cv-05502-DMR Document 50-6 Filed 12/01/22 Page 5 of 5



                              1   identify later.
                              2       9.        About a week ago, in late October 2022, DPW came through the alley we are

                              3   currently staying at, along Erie Street near South Van Ness Avenue. We got no notice of this
                                  most recent sweep, either verbal or written.
                              4
                                      10.       SFPD blocked off the entrances to the alley, then the DPW trucks moved in.
                              5
                                      11.           They took JD’s expensive electric bicycle, some expensive tools, and some of our
                              6   furniture items that we had set to the side as we prioritized moving our more important
                              7   belongings.
                              8       12.       DPW workers started grabbing our belongings as soon as our backs were turned.

                              9   We received no information on how to retrieve our property.
                                       Reflections on the City’s Conduct
                         10
                                    13. It is cruel how the City treats people on the streets. They do not think about why a person
                         11
                                  is there and the fact that they have a past. We did not choose to be out here.
                         12         14. There is so much empty housing here that could be put to use as affordable housing.
                         13         15. The City’s actions are not helping us find permanent housing; they only make it harder to
                         14       get back on our feet.

                         15

                         16

                         17
                                       I have reviewed the information contained in this declaration. I declare under the penalties
                         18
                                       of perjury that the contents are true and correct to the best of my knowledge.
                         19

                         20            Executed on: October 28, 2022
                         21

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                                                                                         c....,,_________________
                                                                                                ....:;___ _ _ _ _ _ _ __


                         23                                                              Darrah Reasor

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LATHAM&WATKI NS'",.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                       _J
  A T TOR N E Y S A T L A W
                                                                             REASOR DECL.
    S A N F R A N C ISC O                                              CASE NO. 4:22-CV-05502-DMR
